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 1   SHAWN R. PEREZ, ESQ.
     626 South Third Street
 2   Las Vegas, NV 89101
     Telephone: (702) 485-3977
 3   shawn711@msn.com
 4   CHRISTOPHER R. ORAM, ESQ.
     520 South Fourth Street, Second Floor
 5   Las Vegas, NV 89101
     Telephone: 702-584-5569
 6   contact@christopheroramlaw.com
 7   Attorneys for Defendant,
     CESAR MORALES
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA, )                   Case No. 2:16-cr-00265-GMN-CWH
12                               )
          Plaintiff,             )
13                               )                        STIPULATION TO MODIFY
     vs.                         )                        TERMS AND CONDITIONS OF
14                               )                        PRETRIAL RELEASE; ORDER
     CESAR VAQUERA MORALES,      )
15                               )
                                 )
16        Defendant.             )
     ___________________________ )
17
18         IT IS HEREBY STIPULATED AND AGREED, by and Between Steven W.
19   Myhre, Acting United States Attorney, and Cristina D. Silva, Assistant United
20   States Attorney, counsel for the United States of America, and counsel for
21   defendant Cesar Vaquera Morales, Shawn Perez, Esq., that the previously
22   imposed terms and conditions of Mr. Morales’ pretrial release be modified to
23   allow him to travel to and from the Escalon Livestock Market, located at 25525 E.
24   Lone Tree Rd., Escalon, California on Wednesdays and Fridays from 7:00 a.m.
25   through 10:00 p.m. for purposes of employment.
26         This stipulation is entered into for the following reasons:
27         1.     Mr. Morales’ pretrial conditions restrict his travel to the Northern
28   District of California and the District of Nevada.

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 1         2.     Mr. Morales is involved in the buying, selling and transportation of
 2   livestock that requires him to travel to and from the Escalon Livestock Market
 3   located in the town of Escalon in the Eastern District of California.
 4         3.     The sale days at the Livestock Market are Wednesdays and Fridays
 5   of each week.
 6         4.     The hours from 7:00 a.m. to 10:00 p.m. allow for the
 7   loading/unloading of livestock, time for the sale, and transportation to and from
 8   his home in San Jose, California.
 9         5.     Mr. Morales is in compliance with all terms and conditions of his
10   pre-trial release.
11         DATED this 8th day of November, 2017.
12
13                                                 STEVEN W. MYHRE
14                                                 Acting United States Attorney
15   /s/ Shawn R. Perez, Esq.               By:    /s/ Christina D. Silva
     SHAWN R. PEREZ, ESQ.                          CRISTINA D. SILVA
16   Counsel for Defendant                         Assistant United States Attorney
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 1
 2                                           ORDER
 3            IT IS HEREBY ORDERED, that the previously imposed conditions of
 4   pretrial release be modified to allow Mr. Morales to travel outside the Northern
 5   District of California to the town of Escalon located in the Eastern District of
 6   California on Wednesdays and Fridays during the hours of 7:00 a.m. to 10:00
 7   p.m. for purposes of employment.
 8            All other current conditions of Defendant's pre-trial release shall remain in
 9   place.
10            IT IS SO ORDERED.
11               14th day of November, 2017
     DATED this _____
12
13                                            ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
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20   Submitted by:
     /s/ Shawn R. Perez
21   SHAWN R. PEREZ, ESQ.
     Attorney for Defendant
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